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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Da Vinci Dental, Ltd.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1000 E. Ogden Ave.
                                  Naperville, IL 60563
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.drojjeh.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Da Vinci Dental, Ltd.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6212

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Da Vinci Dental, Ltd.                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Da Vinci Dental, Ltd.                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Da Vinci Dental, Ltd.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2023
                                                  MM / DD / YYYY


                             X /s/ James Ojjeh                                                            James Ojjeh
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ O. Allan Fridman                                                        Date September 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 O. Allan Fridman 6274954
                                 Printed name

                                 Law Office of Allan Fridman
                                 Firm name

                                 555 Skokie Blvd 500
                                 Northbrook, IL 60062
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     847-412-0788                  Email address      allan@fridlg.com

                                 6274954 IL
                                 Bar number and State




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                                           Da Vinci Dental LTD.



                                       Balance sheet as of 8/23 2023



Current Assets:

Cash in Bank accounts:                    $1727.86



                                           Liabilities and capital



Current Liabilities:

           SBA Loan                       $74,000

           Five Star Bank                 $184.659

           Forward Financing              $20,496

           Business Backers               $30,540

           US Bank Equipment              $121,642.79

           Amex Business Credit Card      $15,680

           US Bank Business Credit Card $3,211.06



Total Liabilities                         $450,228.85



Capital:

           Sales:                         $253,958.7

           Withdrawals                    $252,230.84



Total Capital                             $1727.86
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Da Vinci Dental LTD

Profit & Loss

September 2022 through August 2023

Ordinary Income/Expense

Income from sales: $351,563.61

Total Income: $351,563.61

Expense:

Accounting $2965

Promotions $1124.39

Chriad Data Driven Dental marketing $8267.52

Bank service Charges $1142.88

Charitable Contributions

NFG Paws of War $880

Credit card machine expense $6721.92

Credit reporting services $299.88

Dental Supplies:

Amazon $4013.28

Paterson Dental $619.63

Henry Schein Dental $6696.16

Dental Savings $359.27

Net 32 $690.94

Total dental supplies: $12382.28

Office supplies $1662.54

Fuel $1269.75

Tollway $50

Payroll salaries $68,527.48

Payroll Taxes $24,706.81

Postal services $590.09

Comcast $3692
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T-Mobile $2971.16

Rent $41,977

CAM Bills $9,827.70

Car Insurance $794

Business Liability & Work comp insurance

$3,272.35

Professional Malpractice insurance $1380.87

Amex Credit Card $255.27

Dental Lab services

Albensi Dental lab $12,756.55

DDS dental Lab $359.27

Otec Dental Lab $4,385.10

Loan payments

Business Backers $9,499

US Bank Equipment $8200

Forward Financing $27,485

Five Star Bank $9,288

SBA Loan $2172

Digital Services

Amazon $622.67

Website hosting $1040.79

Netflix $219.71

Hulo $974.88

eFax $221.76

Hushmail HIPPA Email service $269.88

Deputy Time clock service $361.90

Google Digital Service $497.59

PayPal $63.22

Il Dept. of revenue $3,299.88
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Meals $865.54

Water Delivery Service $375.03

________________________

Total Expense $320,707.30

Net Ordinary Income $30,855.79
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                          Da Vinci Dental, LTD
                          1 Tiffany Pt Ste 207
                         Bloomingdale, IL 60108

James Ojjeh
2047 Gardner Circle
Aurora, IL 60503


Dear James Ojjeh,

Enclosed is your 2022 Schedule K-1 (Form 1120-S) Shareholder's
Share of Income, Credits, Deductions, Etc. This information
reflects the amounts you need to complete your income tax return.
The amounts shown are your distributive share of S Corporation tax
items, including income/loss, credit and deductions, and any other
information to be reported on your tax return. This information
may not correspond to actual distributions you may have received
during the year. This information is included in the S-
Corporation's 2022 Federal Return that was filed with the Internal
Revenue Service. This schedule should be retained with your tax
records and other documentation.

If you have any questions concerning this information please do not
hesitate to contact us.

Sincerely,

Da Vinci Dental, LTD
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Fill in this information to identify the case:

Debtor name         Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 11, 2023              X /s/ James Ojjeh
                                                           Signature of individual signing on behalf of debtor

                                                            James Ojjeh
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Da Vinci Dental, Ltd.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit card                                                                                                 $15,680.51
 PO BOX 6031
 Carol Stream, IL
 60197-6031
 Business Backer                                     90 days or less:                                       $30,400.30                  $9,007.00                $30,400.30
 LLC                                                 Account
 10856 Reed Hartman                                  receivable patient
 Hwy,                                                accounts
 Suite 100
 Cincinnati, OH
 45242
 Five Star Bank -SBA                          All tangible and                                             $182,913.46                        $0.00            $182,913.46
 Loan                                         intangible
 2240 Douglas                                 personal property,
 Boulevard, Suite 100                         including, but not
 Roseville, CA 95661                          limited to: (a)
                                              inventory, (b)
                                              equipment, (c)
                                              instruments,
                                              including
                                              promissory not
 Forward Financing                            90 days or less:                                              $20,496.00                  $9,007.00                $11,489.00
 53 State Street           dberlin@forwardfin Account
 Fax: (617) 981-6910       ancing.com         receivable patient
 Boston, MA 02109                             accounts
 Illinois Department                          taxes owed                                                                                                           $3,751.61
 of Revenue
 BANKRUPTCY UNIT
 PO Box 19035 fax
 2177852635
 Springfield, IL 62794




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Da Vinci Dental, Ltd.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Internal Revenue                                    941 Taxes                                                                                                   $43,778.86
 Service
 CENTRALIZED
 INSOLVENCY
 OPERATIONS
 PO BOX 7346
 Philadelphia, PA
 19101-7346
 US Bank                                             Credit card                                                                                                   $3,211.06
 PO Box 790408
 Saint Louis, MO
 63179
 US Bank Equipment                                   Dental Equipment                                      $121,642.79                 $60,036.20                $61,606.59
 Finance                   terrica.vorvick@us        for Exam Rooms
 1310 Madrid St            bank.com                  Exhibit 1. Six
 Marshall, MN 56258                                  Sonos Play 1
 US Small Business                                   All tangible and                                       $74,000.00                        $0.00              $74,000.00
 Administration            David.DeCelles@u          intangible
 500 W. Madison            sdoj.gov                  personal property,
 Street                                              including, but not
 Suite 1150                                          limited to: (a)
 Chicago, IL 60601                                   inventory, (b)
                                                     equipment, (c)
                                                     instruments,
                                                     including
                                                     promissory not




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Fill in this information to identify the case:

 Debtor name            Da Vinci Dental, Ltd.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            98,525.12

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            98,525.12


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           429,452.55


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            47,530.47

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            18,891.57


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             495,874.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                      $0.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     US Bank                                           Checking                              6388                                    $14,059.57




           3.2.     US Bank                                           Checking                              6412                                       $336.35



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $14,395.92
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit 1000 Ogden Partners                                                                                             $6,800.00



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Da Vinci Dental, Ltd.                                                          Case number (If known)
             Name



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                             $6,800.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      9,007.00      -                                   0.00 = ....                    $9,007.00
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                         2,048.00      -                             1,732.00 =....                         $316.00
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                             $9,323.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          12 boxes exams gloves                                                      Unknown         Liquidation                              $80.00


          4 Boxes N95 Masks                                                               $0.00      Replacement                              $44.00



23.       Total of Part 5.                                                                                                               $124.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
              Yes
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 2
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             Name



25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                            Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          4 Office Chairs                                                           Unknown         Liquidation                            $100.00


          Leather Couch Loveseat                                                    Unknown                                                $250.00


          Large Mirror                                                              Unknown         Liquidation                              $27.00



40.       Office fixtures
          20 Wall Art Frames                                                              $0.00     Liquidation                            $200.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          6 Units Sonos Play -1                                                     Unknown         Liquidation                            $450.00


          Five 42 inch LG Flat Screen                                               Unknown         Liquidation                            $325.00


          Paper Shredder                                                                  $0.00     Liquidation                              $27.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $1,379.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

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              Name


              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2007 Mercedes Benz 208 SLK 68156                               Unknown         Liquidation                          $6,367.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Dental Equipment for Exam Rooms Exhibit 1                               Unknown         Liquidation                         $60,036.20


           Four Air Purifiers                                                      Unknown         Liquidation                            $100.00



51.        Total of Part 8.                                                                                                        $66,503.20
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 4
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           Name




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                    page 5
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Debtor          Da Vinci Dental, Ltd.                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $14,395.92

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,800.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $9,323.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                    $124.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,379.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $66,503.20

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $98,525.12          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $98,525.12




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
                                    Exhibit 1 Exam Room Equipment
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Dental Equipment                          Quantity                  Value

DENTAL COMPO SERIES 5 DENTAL CHAIR        5 units at 1542                   $7,710
PLUSH WDBK UL GRANITE UPH

SWG MT AUTO DTL UNIT & LT                 5 units at 1361                   $6,805
REAR ASST PKG, 4POS, CHR TP               5 units at 284                    $1,420
SYS MT SERS LED LIGHT. GY                 5 units at 636.4                  $3,182
ISO‐C 6‐PIN PO HP TUBING
DELUXE SGL HP LT SRCE SYS
ACSY CONN BX W/AIR/WTR OD
UPH. DR STL. GRANITE

ASSISTANTS STOOL                          5 units at 170                     $850

ASST UL STL UPH GRANITE

ULTRASONIC ACCESSORY PACKAGE

Tl‐MAX Z900L STANDARD H[AD                3 units at 325.6                   $977

LED COUPLER PTL‐CL‐LED                    3 units at 83                      $249

XRAY, PREVA DC, DBL STUD MT                                                 $1,400

AA6, 0‐220 HD, FLOOR, LED                                                   $2,750

POWERAIR SOUND COVER, P32

KAVO DENTAL ELECTROMATIC PREMIUM                                            $1,060

ROOT ZX II APEX LOCATOR                                                      $324

360 QUICK‐CONNECT SEIVEL

TITAN BLISSONIC SW SCALER                 6 units at 319                    $1,914

MIDMARK CORP M11 UL TRACLAVE W/QUIET DOOR                                   $1,350

MASTERMATIC LUX M07L CONTRAANG                                               $125

INRA LUX L62 ENDO HEAD                                                       $135


TOUCH N HEAT #5004                                                           $379

HEAT CARRIER STANDARD                                                         $19
                                    Exhibit 2 Exam Room Equipment
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TOUCH N HEAT HOT PULP TEST TIP                                             $31

SERIAL NUMBER V2037602
POWERAIR OLLESS COMP 3‐5                                                $2,111


SERIAL NUMBER 181004175673
DELL BASIC MONITOR                                                         $57


SERIAL NUMBER SEE INVOICE
DELL BASIC MONITOR                                                         $57

SERIAL NUMBER SEE INVOICE
MICRO/MINI PC MOUNT

MOUNT INSTALL‐SMALL

CABLE. DISPLAY PORT. 1 FT

DISPLAY PORT TO HDMI ADPT

DELL BASIC MONITOR                                                         $57

SERIAL NUMBER SEE INVOICE
MICRO/MINI PC MOUNT

MOUNT INSTALL ‐ SMALL

CABLE, DISPLAY PORT, 1FT

SERIAL NUMBER SEE INVOICE
WAVE ELECTRO SONOS SM‐WH                                                  $450

SERIAL NUMBER SEE INVOICE
WAVE ELECTRO WAVE SPECIAL ORDER

SERIAL NUMBER SEE INVOICE
HP PRODESK 400 MICRO                                                       $85

SERIAL NUMBER SEE INVOICE
HP PRODESK 400 MICRO                                                       $85

SERIAL NUMBER 349658
                                         Exhibit 2 Exam Room Equipment
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ORTHOPHOS XG3D ROY CEPH L                                                       $5,768

Orthophos XG 3D Ready                                                         $19,946
                                               quantity
HP Mini PC                                     3 units at $255                     765

Dell Standard Monitor ‐ 22in (DP, VGA)         3 Units at 171                      513



SERIAL NUMBER SEE INVOICE
DELL BASIC MONITOR                                                                 $57
HP MINI SSD                                                                        $85


TOTAL                                                                    $   60,716.00
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Fill in this information to identify the case:

Debtor name         Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   Business Backer LLC                          Describe debtor's property that is subject to a lien                    $30,400.30                 $9,007.00
      Creditor's Name                              90 days or less: Account receivable patient
      10856 Reed Hartman Hwy,                      accounts
      Suite 100
      Cincinnati, OH 45242
      Creditor's mailing address                   Describe the lien
                                                   UCC Lien
                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      10/18/22                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                           Contingent
          Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative         Disputed
      priority.
      1. Forward Financing
      2. Business Backer LLC

2.2   Five Star Bank -SBA Loan                     Describe debtor's property that is subject to a lien                  $182,913.46                       $0.00
      Creditor's Name                              All tangible and intangible personal property,
                                                   including, but not limited to: (a) inventory, (b)
                                                   equipment, (c) instruments,
                                                   including promissory notes (d) chattel paper,
      2240 Douglas Boulevard,                      including tangible chattel paper and
      Suite 100                                    electronic chattel paper
      Roseville, CA 95661
      Creditor's mailing address                   Describe the lien
                                                   UCC
                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      10/1/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1100
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
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Debtor      Da Vinci Dental, Ltd.                                                                 Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Forward Financing                           Describe debtor's property that is subject to a lien                      $20,496.00      $9,007.00
      Creditor's Name                             90 days or less: Account receivable patient
      53 State Street                             accounts
      Fax: (617) 981-6910
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien
                                                  UCC Lien
      dberlin@forwardfinancing.                   Is the creditor an insider or related party?
      com                                            No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/6/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

      US Bank Equipment
2.4                                                                                                                        $121,642.79     $60,036.20
      Finance                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Dental Equipment for Exam Rooms Exhibit 1.
                                                  Six Sonos Play 1
      1310 Madrid St
      Marshall, MN 56258
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
      terrica.vorvick@usbank.co                   Is the creditor an insider or related party?
      m                                              No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      October 13, 2018                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      US Small Business
2.5                                                                                                                         $74,000.00          $0.00
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             All tangible and intangible personal property,
                                                  including, but not limited to: (a) inventory, (b)
                                                  equipment, (c) instruments,
                                                  including promissory notes (d) chattel paper,
      500 W. Madison Street                       including tangible chattel paper and
      Suite 1150                                  electronic chattel paper
      Chicago, IL 60601
      Creditor's mailing address                  Describe the lien
                                                  UCC Lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
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            Name

                                                  Is the creditor an insider or related party?
      David.DeCelles@usdoj.gov                        No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1221
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $429,452.55

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Alex Darcy
       Darcy & Devassy                                                                                     Line   2.4
       444 N. Michigan Suite 3270
       Chicago, IL 60611
       adarcy@darcydevassy.com

       PATRICIA HILL
       7570 Bales ST                                                                                       Line   2.1
       Suite 220
       West Chester, OH 45069

       U.S. Attorney, Civil Process Clerk
       Attn. David Decelles                                                                                Line   2.5
       219 S. Dearborn St., Rm. 500
       Chicago, IL 60603
       David.DeCelles@usdoj.gov

       US Small Business Administration
       2 North Street                                                                                      Line   2.5
       Suite 320
       Birmingham, AL 35203




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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Fill in this information to identify the case:

Debtor name         Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim            Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,751.61     $1,327.88
          Illinois Department of Revenue                       Check all that apply.
          BANKRUPTCY UNIT                                          Contingent
          PO Box 19035 fax 2177852635                              Unliquidated
          Springfield, IL 62794                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               taxes owed
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                      No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $43,778.86         $23,076.23
          Internal Revenue Service                             Check all that apply.
          CENTRALIZED INSOLVENCY                                   Contingent
          OPERATIONS                                               Unliquidated
          PO BOX 7346                                              Disputed
          Philadelphia, PA 19101-7346
          Date or dates debt was incurred                      Basis for the claim:
          11/21/22                                             941 Taxes

          Last 4 digits of account number 0191                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                      No
          unsecured claim: 11 U.S.C. § 507(a) (8)                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15,680.51
          American Express                                                        Contingent
          PO BOX 6031                                                             Unliquidated
          Carol Stream, IL 60197-6031                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card
          Last 4 digits of account number 1007                               Is the claim subject to offset?           No   Yes



Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 2
                                                                                                               48797
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Debtor       Da Vinci Dental, Ltd.                                                                  Case number (if known)
             Name

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $3,211.06
          US Bank                                                              Contingent
          PO Box 790408                                                        Unliquidated
          Saint Louis, MO 63179                                                Disputed
          Date(s) debt was incurred                                        Basis for the claim: Credit card
          Last 4 digits of account number                                  Is the claim subject to offset?         No      Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any
4.1       John Reding, Asst. Atty. Gen.
          100 W. Randolph St., Ste. 13-222                                                          Line     2.1
          f:3128143589 (john.reding@ilag.gov)
                                                                                                           Not listed. Explain
          Chicago, IL 60601

4.2       Radius Global Solutions LLC (former
          PO BOX 357                                                                                Line     3.1
          Ramsey, NJ 07446
                                                                                                           Not listed. Explain

4.3       U.S. Attorney, Civil Process Clerk
          Attn. David Decelles                                                                      Line     2.2
          219 S. Dearborn St., Rm. 500
                                                                                                           Not listed. Explain
          Chicago, IL 60603
          David.DeCelles@usdoj.gov


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                       47,530.47
5b. Total claims from Part 2                                                                           5b.    +     $                       18,891.57

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                            66,422.04




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 2
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Fill in this information to identify the case:

Debtor name       Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Five year lease
           lease is for and the nature of        $47,289.36 yearly lease
           the debtor's interest

               State the term remaining          48 months                          1000 Ogden Partners
                                                                                    Steve Steinmetz
           List the contract number of any                                          1000 East Ogden
                 government contract                                                Naperville, IL 60563




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Dr. James Ojjeh             2047 Gardner Circle                                       US Bank Equipment                  D   2.4
                                      Aurora, IL 60503                                          Finance                            E/F
                                                                                                                                   G




   2.2    Dr. James Ojjeh             2047 Gardner Circle                                       Business Backer LLC                D   2.1
                                      Aurora, IL 60503                                                                             E/F
                                                                                                                                   G




   2.3    Dr. James Ojjeh             2047 Gardner Circle                                       US Bank                            D
                                      Aurora, IL 60503                                                                             E/F       3.2
                                                                                                                                   G




   2.4    Tala Smile Ltd              1000 Ogden Dental                                         US Bank                            D
                                      Naperville, IL 60563                                                                         E/F       3.2
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Da Vinci Dental, Ltd.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                          Gross revenue
      which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                   exclusions)

      From the beginning of the fiscal year to filing date:                                Operating a business                               $351,563.61
      From 1/01/2023 to Filing Date
                                                                                           Other


      For prior year:                                                                      Operating a business                               $350,855.00
      From 1/01/2022 to 12/31/2022
                                                                                           Other


      For year before that:                                                                Operating a business                               $426,033.00
      From 1/01/2021 to 12/31/2021
                                                                                           Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply




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Debtor       Da Vinci Dental, Ltd.                                                              Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Forward Financing                                    June 6 2023                        $7,695.00               Secured debt
              53 State Street                                      $900                                                       Unsecured loan repayments
              Boston, MA 02109                                     June 13,                                                   Suppliers or vendors
                                                                   2023, $900                                                 Services
                                                                   June 20,                                                   Other
                                                                   2023 $900
                                                                   June 27,
                                                                   2023 $900
                                                                   July 5, 2023
                                                                   $900
                                                                   July 11,
                                                                   2023, $900
                                                                   July 25, 2023
                                                                   $459
                                                                   August 1,
                                                                   2023, $459
                                                                   August 8,
                                                                   2023 $459
                                                                   August 15,
                                                                   2023 $459
                                                                   August
                                                                   22,2023 $
                                                                   459

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Forward Financing                                    See Attached                     $35,938.70           Receivable loan guaranteed by
              53 State Street                                      Exhibit                                               James Ojjeh
              Boston, MA 02109
              None

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.
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Debtor        Da Vinci Dental, Ltd.                                                              Case number (if known)




          None.

               Case title                             Nature of case               Court or agency's name and                  Status of case
               Case number                                                         address
      7.1.     Business Backer LLC v. Da              Breach of                    In The Common Pleas                            Pending
               Vinci Dental, LTD.                     Contract                     Court                                          On appeal
               2023 CV 04108                                                       Montgomery County Ohio                         Concluded
                                                                                   General Division
                                                                                   41 N Perry St,
                                                                                   Dayton, OH 45422


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                             Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss                Value of property
      how the loss occurred                                                                                                                                lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                            value
                Address
      11.1.     Law Office of Allan Fridman
                555 Skokie Blvd 500
                Northbrook, IL 60062                     Attorney Fees                                                 8/17/23                       $9,000.00

                Email or website address
                allan@fridlg.com

                Who made the payment, if not debtor?
                Dr. James Ojjeh



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Debtor        Da Vinci Dental, Ltd.                                                               Case number (if known)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

      Name of trust or device                              Describe any property transferred                    Dates transfers              Total amount or
                                                                                                                were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
               Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                              Dates of occupancy
                                                                                                                     From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                        the debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care
      15.1.     Da Vinci Dental LTd.                    Dental Practice                                                            1900
                1000 E. Ogden Ave.
                Naperville, IL 60563
                                                        Location where patient records are maintained (if different from           How are records kept?
                                                        facility address). If electronic, identify any service provider.
                                                        1000 Ogden Ave., Naperville, IL 60563                                      Check all that apply:

                                                                                                                                      Electronically
                                                                                                                                      Paper

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Insurance Information, date of birth, copies of insurance
                   Does the debtor have a privacy policy about that information?
                     No
                     Yes




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Debtor      Da Vinci Dental, Ltd.                                                                Case number (if known)



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.
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Debtor      Da Vinci Dental, Ltd.                                                               Case number (if known)




      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Alex Zorab                                                                                                         annual tax return
                    First American Tax
                    6600 S Pulaski Rd.
                    Chicago, IL 60629

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

               None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

               None

      Name and address
      26d.1.        Five Star Bank




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Debtor       Da Vinci Dental, Ltd.                                                             Case number (if known)



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

              Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Dr. James Ojjeh                        2047 Gardner Circle                                 President                               100
                                             Aurora, IL 60503



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          payment in lieu of
      .                                                                                                                             salary - See
              Dr. James Ojjeh                                                                                                       Exhibit 1 to
              2047 Gardner Circle                                                                               3/17/23             Statement of
              Aurora, IL 60503                        79121                                                     -8/21/23            Financial Affairs

              Relationship to debtor
              President


      30.2                                                                                                                          Payments for
      .    Tala Smile Design Ltd                                                                                9/1/22 to           Health Insurance
              2047 Gardner Cir E,                                                                               7/4/23 See          for Dr. Ojjeh and
              Aurora, IL 60503                        19173                                                     Exhibit 2           IRS 941 taxes

              Relationship to debtor
              Corporation Owned by Dr.
              James Ojjeh




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Debtor       Da Vinci Dental, Ltd.                                                          Case number (if known)



              Name and address of recipient       Amount of money or description and value of                Dates           Reason for
                                                  property                                                                   providing the value
      30.3                                                                                                   7/31/2023
      .                                                                                                      5/3/2023
                                                                                                             5/30/2023
                                                                                                             3/1/2023
                                                                                                             11/14/2023
              Audible                                                                                        11/25/2022
              27 Washington St.                                                                              11/29/2022      audio book
              Newark, NJ 07100                    119.60 paid monthly at 14.95                               10/31/2022      subscription

              Relationship to debtor
              None


      30.4                                                                                                   8-21-23
      .                                                                                                      6-20-23
                                                                                                             3-2-23
                                                                                                             3-24-23
                                                                                                             3-27-23
                                                                                                             11-21-22
              AMC Theater                                                                                    11-25-22
              2815 Show Place                                                                                10-26-22
              Naperville, IL 60564                $179.20 Movie theater tickets                              5-15-23

              Relationship to debtor
              None


      30.5 Nicor Gas                                                                                                         Payment for Dr.
      .    1665 Birchwood Ave                                                                                                James Ojjeh
              Des Plaines, IL 60018               $467.01                                                    June 13, 2023   instead of salary

              Relationship to debtor
              None


      30.6 Morton Arboretum                                                                                  5-8-23          Payment of
      .    4100 Illinois Route 53                                                                            5-15-23         expense instead
              Lisle, IL 60532                     193.75                                                     5-29-23         of salary

              Relationship to debtor
              None


      30.7 FI GPS
      .    215 Plymouth St                                                                                                   Payment instead
              Brooklyn, NY 11201                  107.17                                                     5/22/23         of salary

              Relationship to debtor
              NOne


      30.8 Foxmoor clinic
      .    2258 Ogden Ave                                                                                                    Payment instead
              Aurora, IL 60504                    109.9                                                      5/30/23         of Salary

              Relationship to debtor
              None




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Debtor       Da Vinci Dental, Ltd.                                                          Case number (if known)



              Name and address of recipient       Amount of money or description and value of                Dates         Reason for
                                                  property                                                                 providing the value
      30.9                                                                                                   8-7-23
      .                                                                                                      1-30-23
                                                                                                             6-5-23
                                                                                                             1-28-22
                                                                                                             3-8-23
                                                                                                             11-21-22
                                                                                                             3-8-23
                                                                                                             10-28-22
                                                                                                             3-20-23
              Dr. James Ojjeh                                                                                3-27-23       Reimbursement
                                                  417.38                                                     2-27-23       for Meals

              Relationship to debtor
              President


      30.1 Kindle                                                                                            7/25/23       Payment instead
      0.                                          $24                                                        3/27/23       of salary

              Relationship to debtor



      30.1 Mercedes Benz Financial
      1.   P.O. Box 961                                                                                                    Payment instead
              Roanoke, TX 76262                   $1771.78                                                   9/29/22       of salary

              Relationship to debtor
              None


      30.1 Comed
      2.   PO Box 6111                                                                                       3/16/23       Payment instead
              Carol Stream, IL 60197              734.55                                                     6/5/23        of salary

              Relationship to debtor
              None


      30.1 American Airlines
      3.   P.O. Box 619616                                                                                                 Payment instead
              Dallas, TX 75261                    591.81                                                     7/6/23        of salary

              Relationship to debtor
              None


      30.1 Jewel Osco                                                                                                      Payment instead
      4.                                          113.75                                                     4/3/23        of salary

              Relationship to debtor
              None


      30.1 Genesis credit card                                                                                             Payment instead
      5.                                          297.87                                                     3/14/23       of salary

              Relationship to debtor




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Applied bank credit card                                                                                                Payment instead
      6.                                               78                                                        3/20/23           of salary

             Relationship to debtor
             None


      30.1 MYEYE DR                                                                                                                Payment instead
      7.                                               143                                                       143               of Salary

             Relationship to debtor
             None


      30.1 Ready fresh water delivery                                                                                              Payment instead
      8.                                               100.06                                                    10/27/22          of salary

             Relationship to debtor
             None


      30.1 ALDI                                                                                                                    payment taken
      9.                                               39.9                                                                        instead of salary

             Relationship to debtor
             None


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on

/s/ James Ojjeh                                                 James Ojjeh
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
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Exhibit to Question 4 to
Statement of Financial
Affairs
9/2/2022                             $           750.00
9/6/2022                             $           334.10
9/9/2022                             $           750.00
9/12/2022                            $           334.10
9/16/2022                            $           750.00
9/19/2022                            $           331.10
9/23/2022                            $           750.00
9/26/2022                            $           334.10
9/30/2022                            $           750.00
10/3/2022                            $           334.10
10/7/2022                            $           750.00
10/11/2022                           $           334.10
10/14/2022                           $           750.00
10/17/2022                           $           334.10
10/21/2022                           $           750.00
10/25/2022                           $           750.00
11/4/2022                            $           750.00
11/14/2022                           $           750.00
11/18/2022                           $           750.00
11/25/2022                           $           750.00
12/1/2022                            $           750.00
12/13/2022                           $           900.00
12/20/2022                           $           900.00
12/27/2022                           $           900.00
1/9/2023                             $           180.00
1/10/2023                            $           900.00
1/23/2023                            $           180.00
2/7/2023                             $           270.00
2/14/2023                            $           270.00
2/28/2023                            $           270.00
3/7/2023                             $           900.00
3/21/2023                            $           900.00
3/28/2023                            $           459.00
4/4/2023                             $           720.00
4/11/2023                            $           900.00
4/18/2023                            $           900.00
4/25/2023                            $           900.00
5/2/2023                             $           900.00
5/9/2023                             $           900.00
5/16/2023                            $           900.00
5/23/2023                            $           900.00
5/30/2023                            $           900.00
June 6 2023                          $           900.00
13‐Jun‐23                            $           900.00
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20‐Jun‐02                       $           900.00
27‐Jun‐02                       $           900.00
5‐Jul‐20                        $           900.00
11‐Jul‐02                       $           900.00
25‐Jul‐02                       $           459.00
1‐Aug                           $           459.00
8‐Aug                           $           459.00
15‐Aug                          $           459.00
22‐Aug                          $           459.00
8/29/2023                       $           459.00

                                $         35,938.70
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Exhibit 2 Payments made to
corporation Tala Smile
Design LTD to Question 30
7-4-23                        $1,350.00
6-18-23                        $888.00
6-30-23                        $810.00
5-5-23                        $1,530.00
4-19-23                        $450.00
4-27-23                       $1,008.00
3-10-23                        $960.00
2-1-23                         $720.00
2-1-23                         $450.00
1-3-23                         $540.00
1-5-23                         $450.00
1-6-23                         $360.00
1-7-23                        $1,111.00
1-24-23                        $500.00
12-8-22                       $1,260.00
12-23-22                         $93.00
12-24-22                         $63.00
11-10-22                       $777.00
10-22-22                      $3,000.00
10-19-22                       $864.00
10-9-22                        $540.00
10-2-22                        $360.00
9-6-22                         $540.00
9/1/2022                       $549.00
9/1/2022
Total                        $19,173.00
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Exhibit 3 to Statement of Financial
Affairs Question 30


Date                                        Amount

8‐21‐23                                     $            111.00
8‐11‐23                                     $            333.00
8‐16‐23                                     $            111.60
8‐8‐23                                      $            180.00
7‐17‐23                                     $            333.00
7‐17‐23                                     $             63.00
7‐12‐23                                     $            180.00
7‐12‐23                                     $             63.00
7‐1‐23                                      $            180.00
7‐1‐23                                      $             96.30
7‐6‐23                                      $            180.00
7‐3‐23                                      $            639.00
7‐3‐23                                      $            369.00
7‐3‐23                                      $            369.00
7‐3‐23                                      $            333.00
6‐28‐23                                     $             54.45
6‐23‐23                                     $            333.00
6‐20‐23                                     $            369.00
6‐15‐23                                     $            333.00
6‐14‐23                                     $            111.00
6‐13‐23                                     $            333.00
6‐12‐23                                     $             36.90
6‐6‐23                                      $          2,340.00
6‐5‐23                                      $            333.00
5‐30‐23                                     $            333.00
5‐36‐23                                     $            888.00
5‐25‐23                                     $            333.00
5‐23‐23                                     $            333.00
5‐23‐23                                     $            333.00
5‐22‐23                                     $            111.60
5‐15‐23                                     $             63.00
5‐11‐23                                     $            333.00
5‐11‐23                                     $            333.00
5‐5‐23                                      $            111.60
5‐4‐23                                      $            444.60
5‐2‐23                                      $            333.00
5‐1‐12                                      $            540.00
5‐1‐23                                      $            270.00
5‐1‐23                                      $             33.33
5‐1‐23                                      $              8.88
4‐3‐23                                      $            222.30
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4‐3‐23                              $            111.60
4‐3‐23                              $            111.60
3‐28‐23                             $            333.00
3‐27‐23                             $            111.60
3‐23‐23                             $            450.00
3‐21‐23                             $            630.00
3‐20‐23                             $            360.00
3‐20‐23                             $            360.00
3‐20‐23                             $            333.00
3‐20‐23                             $            333.00
3‐15‐23                             $            333.00
3‐10‐23                             $            444.00
3‐10‐23                             $            333.00
3‐10‐23                             $            333.00
3‐8‐23                              $            333.00
3‐8‐23                              $            270.00
3‐6‐23                              $          3,600.00
2‐28‐23                             $             81.81
2‐27‐23                             $            111.60
2‐27‐23                             $             72.00
2‐24‐23                             $            111.60
2‐23‐23                             $            222.30
2‐22‐23                             $            333.00
2‐21‐23                             $          1,600.00
2‐21‐23                             $            333.00
2‐21‐23                             $            222.30
2‐21‐23                             $            180.00
2‐21‐23                             $            111.60
2‐13‐23                             $            900.00
2‐13‐23                             $            150.00
2‐12‐23                             $            111.60
2‐13‐23                             $             90.00
2‐10‐23                             $            111.00
2‐6‐23                              $            333.00
2‐6‐23                              $             93.60
2‐3‐23                              $          1,530.00
2‐3‐23                              $            306.00
2‐2‐23                              $            450.00
201‐23                              $            111.60
1‐27‐23                             $            333.00
1‐27‐23                             $            333.00
1‐27‐23                             $            111.60
1‐24‐23                             $            630.00
1‐24‐23                             $            180.00
1‐25‐23                             $             96.30
1‐23‐23                             $             96.30
1‐20‐23                             $            333.00
1‐2‐23                              $            111.10
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1‐18‐23                             $             90.00
1‐18‐23                             $             40.00
1‐13‐23                             $            222.30
1‐12‐23                             $          1,800.00
1‐12‐23                             $            333.00
1‐10‐23                             $          1,800.00
1‐9‐23                              $            333.00
1‐6‐23                              $            180.00
1‐4‐23                              $          1,206.00
1‐3‐23                              $             63.00
1‐3‐23                              $             63.00
12‐3‐22                             $            160.00
12‐29‐22                            $             96.00
12‐29‐22                            $             63.00
12‐29‐22                            $             54.00
12‐20‐22                            $             63.00
12‐19‐22                            $            963.00
12‐19‐22                            $            111.60
12‐15‐22                            $          1,233.00
12‐12‐22                            $            333.00
12‐12‐22                            $            111.60
12‐9‐22                             $            111.60
12‐7‐22                             $            333.00
12‐6‐22                             $            555.00
12‐6‐22                             $            171.00
12‐2‐22                             $            207.00
12‐2‐22                             $            111.60
11‐30‐22                            $             69.39
11‐28‐22                            $             72.72
11‐28‐22                            $             45.45
11‐25‐22                            $            963.00
11‐25‐22                            $             33.30
11‐23‐22                            $            333.00
11‐23‐22                            $            240.00
11‐23‐22                            $            222.60
11‐23‐22                            $            222.30
11‐21‐22                            $            333.00
11‐21‐22                            $            222.60
11‐18‐22                            $            333.00
11‐15‐22                            $            123.30
11‐15‐22                            $            111.00
11‐15‐22                            $             22.23
11‐14‐22                            $            111.60
11‐14‐22                            $            111.60
11‐10‐22                            $            222.30
11‐10‐22                            $             27.00
11‐9‐22                             $            111.60
11‐9‐22                             $             72.00
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11‐7‐22                             $            111.00
11‐7‐22                             $             96.30
11‐3‐22                             $            333.00
10‐31‐22                            $            222.30
10‐24‐22                            $          1,500.00
10‐24‐22                            $            333.00
10‐21‐22                            $          2,510.00
10‐21‐22                            $            333.00
10‐21‐22                            $            333.00
1020‐22                             $            333.00
10‐19‐22                            $          2,223.00
10‐13‐22                            $            369.00
10‐11‐23                            $            630.00
10‐6‐22                             $            222.30
10‐4‐22                             $            333.00
10‐4‐22                             $            222.30
10‐3‐22                             $          3,330.00
10‐3‐22                             $            111.60
10‐3‐22                             $             93.33
9‐29‐22                             $            180.00
9‐28‐22                             $            222.30
9‐27‐22                             $            111.60
9‐26‐22                             $            333.00
9‐21‐22                             $            279.00
9‐20‐22                             $             54.45
9‐19‐22                             $            222.30
9‐19‐22                             $            111.60
9‐15‐22                             $            222.30
9‐6‐22                              $            333.00
9‐2‐22                              $          1,116.00

8‐15‐23                             $            333.00
8‐14‐23                             $            111.60
8‐10‐23                             $            333.00
8‐7‐23                              $            333.00
8‐2‐23                              $             36.00
7‐25‐23                             $            333.00
7‐24‐23                             $            333.00
7‐24‐23                             $            270.00
7‐24‐23                             $             96.30
7‐17‐23                             $            111.00
6‐30‐23                             $            161.00
6‐29‐23                             $          1,111.00
6‐27‐23                             $            810.00
6‐27‐23                             $            333.00
6‐26‐23                             $            693.00
6‐23‐23                             $            369.00
6‐20‐23                             $            333.00
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6‐20‐23                               $            333.00
6‐16‐23                               $            333.00
6‐13‐23                               $            888.00
6‐12‐23                               $            540.00
6‐5‐23                                $            333.00
5‐24‐23                               $          3,333.00
5‐24‐23                               $            111.60
5‐18‐23                               $            963.00
5‐17‐23                               $            366.39
5‐15‐23                               $            450.00
5‐1‐23                                $            333.00
5‐1‐23                                $            222.00
5‐1‐23                                $             54.00
4‐7‐23                                $            111.60
4‐24‐23                               $            333.00
4‐17‐23                               $             33.30
4‐17‐23                               $              9.63
3‐17‐23                               $          1,260.00

TOTAL                                 $          79,121.46
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                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Da Vinci Dental, Ltd.                                                                            Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 12,000.00
             Prior to the filing of this statement I have received                                        $                  9,000.00
             Balance Due                                                                                  $                  3,000.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Dr. James Ojjeh

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods. Representation of the debtors in any dischargeability
             actions, judicial lien avoidances, relief from stay actions or any other adversary proceeding.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 11, 2023                                                       /s/ O. Allan Fridman
     Date                                                                     O. Allan Fridman 6274954
                                                                              Signature of Attorney
                                                                              Law Office of Allan Fridman
                                                                              555 Skokie Blvd 500
                                                                              Northbrook, IL 60062
                                                                              847-412-0788 Fax: 847-412-0898
                                                                              allan@fridlg.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Da Vinci Dental, Ltd.                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 11, 2023                                                  Signature /s/ James Ojjeh
                                                                                        James Ojjeh

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                            Northern District of Illinois
In re   Da Vinci Dental, Ltd.                                                   Case No.
                                                         Debtor(s)              Chapter    11




                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             18




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   September 11, 2023                    /s/ James Ojjeh
                                              James Ojjeh/President
                                              Signer/Title
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                      1000 Ogden Partners
                      Steve Steinmetz
                      1000 East Ogden
                      Naperville, IL 60563


                      Alex Darcy
                      Darcy & Devassy
                      444 N. Michigan Suite 3270
                      Chicago, IL 60611


                      American Express
                      PO BOX 6031
                      Carol Stream, IL 60197-6031


                      Business Backer LLC
                      10856 Reed Hartman Hwy,
                      Suite 100
                      Cincinnati, OH 45242


                      Dr. James Ojjeh
                      2047 Gardner Circle
                      Aurora, IL 60503


                      Five Star Bank -SBA Loan
                      2240 Douglas Boulevard, Suite 100
                      Roseville, CA 95661


                      Forward Financing
                      53 State Street
                      Fax: (617) 981-6910
                      Boston, MA 02109


                      Illinois Department of Revenue
                      BANKRUPTCY UNIT
                      PO Box 19035 fax 2177852635
                      Springfield, IL 62794


                      Internal Revenue Service
                      CENTRALIZED INSOLVENCY OPERATIONS
                      PO BOX 7346
                      Philadelphia, PA 19101-7346


                      John Reding, Asst. Atty. Gen.
                      100 W. Randolph St., Ste. 13-222
                      f:3128143589 (john.reding@ilag.gov)
                      Chicago, IL 60601
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                  PATRICIA HILL
                  7570 Bales ST
                  Suite 220
                  West Chester, OH 45069


                  Radius Global Solutions LLC (former
                  PO BOX 357
                  Ramsey, NJ 07446


                  Tala Smile Ltd
                  1000 Ogden Dental
                  Naperville, IL 60563


                  U.S. Attorney, Civil Process Clerk
                  Attn. David Decelles
                  219 S. Dearborn St., Rm. 500
                  Chicago, IL 60603


                  US Bank
                  PO Box 790408
                  Saint Louis, MO 63179


                  US Bank Equipment Finance
                  1310 Madrid St
                  Marshall, MN 56258


                  US Small Business Administration
                  500 W. Madison Street
                  Suite 1150
                  Chicago, IL 60601


                  US Small Business Administration
                  2 North Street
                  Suite 320
                  Birmingham, AL 35203
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                                           United States Bankruptcy Court
                                               Northern District of Illinois
 In re   Da Vinci Dental, Ltd.                                                       Case No.
                                                            Debtor(s)                Chapter    11




                                 CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Da Vinci Dental, Ltd. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 11, 2023                             /s/ O. Allan Fridman
Date                                           O. Allan Fridman 6274954
                                               Signature of Attorney or Litigant
                                               Counsel for Da Vinci Dental, Ltd.
                                               Law Office of Allan Fridman
                                               555 Skokie Blvd 500
                                               Northbrook, IL 60062
                                               847-412-0788 Fax:847-412-0898
                                               allan@fridlg.com
